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                            UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF LOUISIANA

   IN RE:

   FIRST NBC BANK HOLDING COMPANY                                       CASE NO. 17-11213

                                                                        SECTION A

          DEBTOR                                                        CHAPTER 11


               AMENDED MOTION FOR ORDER APPROVING IMMATERIAL
                MODIFICATIONS TO JOINT PLAN OF REORGANIZATION

          NOW INTO COURT, come First NBC Bank Holding Company (“Debtor”) and the

   Official Committee of Unsecured Creditors (“Committee”; and, with the Debtor, the “Plan

   Proponents”), who hereby amend their Motion for Order Approving Immaterial Modifications to

   Joint Plan of Reorganization [Doc.741] as follows:

                                                    1.

          On August 30, 2020, the Plan Proponents filed a Motion for Order Approving Immaterial

   Modifications to Joint Plan of Reorganization [Doc.741] (“Original Immaterial Modifications

   Motion”) in preparation for the hearing on confirmation of the Second Amended Joint Chapter 11

   Plan of Reorganization for First NBC Bank Holding Company Dated July 2, 2019 (“Joint Plan”)

   [Doc. 621], then scheduled for September 4, 2019. Plan Proponents incorporate herein all

   allegations of the Original Immaterial Modifications Motion.

                                                    2.

          For the reasons set forth in the Original Immaterial Modifications Motion, Plan Proponents

   hereby propose additional modifications to further clarify prior changes to the funding structure of

   the Joint Plan and related Plan Distribution issues.
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                                                    3.

          By this motion, Plan Proponents seek this Court’s approval of the immaterial modifications

   to the Joint Plan as indicated in the redlined Joint Plan, attached hereto as Exhibit A.        The

   additional Plan Modifications, submitted through this Motion, are indicated in the redlined Plan

   Modifications, Exhibit B hereto (redlined against Plan Modifications through August 30, 2019

   [Doc. 741-1]).

          WHEREFORE, Plan Proponents’ respectfully request that this Court find, as part of the

   hearing on plan confirmation scheduled for March 10, 2020, that the proposed Plan Modifications,

   attached hereto as Exhibit A, are non-material within the meaning of Federal Rule of Bankruptcy

   Procedure 3019; authorize the Plan Modifications to the Joint Plan without requiring the Plan

   Proponents to resolicit votes respecting the Joint Plan, as modified; and find that the “Joint Plan”

   shall mean the Joint Plan, as modified by the attached Plan Modifications; and for any and all other

   relief this Court deems necessary and proper.

                                                 Respectfully submitted,

                                                 By: /s/ Barbara B. Parsons
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                                                 Barbara B. Parsons, La. Bar No. 28714
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                                                 Counsel for Debtor

                                                 -and-

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                                        Creditors of First NBC Bank Holding Company
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                                UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF LOUISIANA

   IN RE:

   FIRST NBC BANK HOLDING COMPANY                                                  CASE NO. 17-11213

                    DEBTOR                                                         SECTION A

                                                                                   CHAPTER 11
                                         CERTIFICATE OF SERVICE
           I hereby certify that a copy of the foregoing Amended Motion for Order Approving

   Immaterial Modifications to Joint Plan of Reorganization has been served via Email through this

   Court’s CM/ECF Electronic Notification System upon the following parties:

   Sam J. Alberts on behalf of Interested Party Federal Deposit Insurance Corporation (FDIC) as Receiver for First
   NBC Bank sam.alberts@dentons.com

   Serajul Ferdows Ali on behalf of Interested Party United States of America/Treasury serajul.ali@usdoj.gov

   A. Brooke Watford Altazan on behalf of Creditor Committee Official Unsecured Creditors' Committee
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   Brian M. Ballay on behalf of Interested Party Directors and Former Directors Group
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   Jerry A. Beatmann on behalf of Interested Party Federal Deposit Insurance Corporation (FDIC) as Receiver for First
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   Ward Benson on behalf of Interested Party United States of America on behalf of the Internal Revenue Service
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   Nicholas H. Berg on behalf of Interested Party Lawrence Blake Jones nberg@reasonoverllc.com

   Brandon A. Brown on behalf of Creditor Committee Official Unsecured Creditors' Committee
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   Christopher T. Caplinger on behalf of Creditor Lead Plaintiffs in Securities Class Action ccaplinger@lawla.com

   Edward Castaing, Jr. on behalf of Interested Party Ryan J. Ashton ecastaing@cclhlaw.com

   Robin B. Cheatham on behalf of Creditor Florida Parishes Bank cheathamrb@arlaw.com

   Leo D. Congeni on behalf of Interested Party Doug Smith, derivatively and on behalf of First NBC Bank Holding
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   Nancy Scott Degan on behalf of Interested Party Directors and Former Directors Group
   ndegan@bakerdonelson.com
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   Jonathan Edwards on behalf of Interested Party Mary Beth Verdigets and Jonathan.Edwards@alston.com

   Elizabeth J. Futrell on behalf of Creditor David W. Anderson efutrell@joneswalker.com

   Amanda Burnette George on behalf of U.S. Trustee Office of the U.S. Trustee amanda.b.george@usdoj.gov

   Aaron Benjamin Greenbaum on behalf of Interested Party Mary Beth Verdigets aaron.greenbaum@pjgglaw.com

   Jan Marie Hayden on behalf of Interested Party Lawrence Blake Jones jhayden@bakerdonelson.com

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   Michael E. Landis on behalf of Creditor Renewal Capital Company, LLC mlandis@gamb.law

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   Andrew M Reidy on behalf of Interested Party Federal Deposit Insurance Corporation (FDIC) as Receiver for First
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   Lacey E Rochester on behalf of Interested Party Directors and Former Directors Group
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   David Rubin on behalf of Other Prof. Interested Party drubin@kswb.com

   Susan R. Sherrill-Beard on behalf of Interested Party U.S. Securities and Exchange Commission
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   Paul Douglas Stewart, Jr. on behalf of Creditor Committee Official Unsecured Creditors' Committee
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   Office of the U.S. Trustee USTPRegion05.NR.ECF@usdoj.gov

   R. Patrick Vance on behalf of Creditor David W. Anderson pvance@joneswalker.com

   Stephen L. Williamson on behalf of Creditor Renewal Capital Company, LLC swilliamson@gamb.law

           Baton Rouge, Louisiana, this 6th day of March, 2020.

                                            /s/ Samantha J. Chassaing
                                              Samantha J. Chassaing
